
In re Brown &amp; Williamson Holdings, Inc.; American Tobacco Co. Inc. et al.; Philip Morris USA Inc.; R.J. Reynolds Tobacco Company; Lorillard Tobacco Company; Tobacco Institute Inc.; Brown &amp; Williamson Tobacco Corporation n/k/a Brown &amp; Williamson Holdings, Inc.; — Defendant(s); Applying for Writ of Certiorari and/or Review, Parish of Orleans, Civil District Court Div. I, No. 96-8461; to the Court of Appeal, Fourth Circuit, No. 2004-CA-2095.
Denied.
TRAYLOR, J., recused.
